                       UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION
    IN THE MATTER OF:                                Case No.: 16-47940-MAR
                                                     Chapter 13
          Regina Bernice Crocheron                   Honorable Mark A. Randon
          Debtor.
                             ORDER APPROVING SETTLEMENT
                                          AND
                           PAYMENT OF LEGAL FEES AND COSTS
                                         FROM
                            “LAWSUIT SETTLEMENT” PROCEEDS
           This matter came on for hearing upon a motion filed by the Debtor pursuant to
    L.B.R. 9014-1 (E.D.M.), all appropriate parties having been provided with notice of the
    pendency of the motion, no objections having been filed and a Certificate of No Response
    having been filed with the Court, and the Court having determined that the relief requested
    is warranted, and the Court being otherwise sufficiently advised in the premises;

          IT IS HEREBY ORDERED that Debtor’s motion is granted.

          IT IS FURTHER ORDERED that the settlement of “Crocheron v. Farm Bureau
    General Insurance Company of Michigan”, (filed in Macomb County Circuit Court, having
    Case No. 16-1070-CK) in the amount of $18,500, is hereby approved;

            IT IS FURTHER ORDERED that Attorney James C. Klemanski is awarded
    compensation in the amount of $6,166.66 in attorney fees, said compensation to come out
    of the “gross” settlement proceeds;

          IT IS FURTHER ORDERED that costs are awarded in the total amount of $2,148.96
    (Claim Consultants International in the amount of $1,850 and actual expenses in the
    amount of $298.96), said costs to come out of the “gross” settlement proceeds;

           IT IS FURTHER ORDERED that the Debtor shall remit the net proceeds from the
    lawsuit settlement in the amount of $10,184.38 to the Chapter 13 Trustee unless otherwise
    ordered by the Court.

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    Signed on February 14, 2017
                                                      /s/ Mark A. Randon
                                                Mark A. Randon
                                                United States Bankruptcy Judge

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